                             Case 19-31268 Document 1 Filed in TXSB on 03/04/19 Page 1 of 36


     Fill in this information to identify your case:



     United States Bankruptcy Court for the:


     SOUTHERN DISTRICT OF TEXAS

  Case number (if known)
                                                                                 Chapter      11


                                                                                                                                   Check if this an
                                                                                                                                   amended filing




 Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptc
                                                            y                                                                                                4/16
If more space is needed, attach a separate sheet to this form.
                                                                On the top of any additional pages, write the debtor's name
For more information, a separate document, Instructions                                                                     and case number (if known).
                                                           for Bankruptcy Forms for Non-Individuals, is available.



 1.      Debtor's name                Arsham Metal Industries, Inc.


 2.      All other names debtor
         used in the last 8 years

         Include any assumed
         names, trade names and
         doing business as names     Arsham Aluminum Alloys

 3.      Debtor's federal
         Employer Identification      XX-XXXXXXX
         Number (EIN)



 4.      Debtor's address             Principal place of business
                                                                                                     Mailing address, if different from principal place of
                                                                                                     business

                                      11280 Charles Rd.
                                      Houston, TX 77041
                                      Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                      Harris                                                         Location of principal assets, if different from principal
                                      County                                                         place of business


                                                                                                     Number, Street, City, State & ZIP Code


5.      Debtor's website (URL)



6.      Type of debtor
                                         Corporation (including Limited Liability Company (LLC) and Limited Liability
                                                                                                                      Partnership (LLP))
                                         Partnership (excluding LLP)

                                         Other. Specify:




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                                                                                                        page 1
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     Debtor      Arsham Metal Industries, Inc.                                                                 Case number (if known)
                 Name




     7.     Describe debtor's business        A. Check one:

                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6)}
                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              B None of the above

                                              B. Check all that apply

                                                 Tax-exempt entity (as described in 26 U.S.C. §501)
                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                                                                                                                 §80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best
                                                                                                                              describes debtor.
                                                 See http://www.uscourts.gov/four-diqit-national-association-naics-codes.
                                                 332900
                                                 332900                                             '               -   - -


 8.        Under which chapter of the         Check one:
           Bankruptcy Code is the
           debtor filing?                        Chapter 7
                                                 Chapter 9

                                              I Chapter 1 1 . Check all that apply.

                                                                        Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                                                   insiders or affiliates)
                                                                        are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                                                                                                     3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                                                                                                                  is a small
                                                                        business debtor, attach the most recent balance sheet, statement of operations,
                                                                                                                                                           cash-flow
                                                                        statement, and federal income tax return or if all of these documents do not exist,
                                                                                                                                                            follow the
                                                                        procedure in 11 U.S.C. § 1116(1)(B).

                                                                        A plan is being filed with this petition.

                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                                                                                       creditors, in
                                                                        accordance with 11 U.S.C. § 1126(b).

                                                                        The debtor is required to file periodic reports (for example, 10K and 1 0Q) with
                                                                                                                                                         the Securities and
                                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange
                                                                                                                                                         Act of 1934. File the
                                                                        attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                                                                                                                           Chapter 11
                                                                        (Official Form 201A) with this form.

                                                                        The debtor is a shell company as defined in the Securities Exchange Act of
                                                                                                                                                   1934 Rule 12b-2.
                                                 Chapter 12



9.        Were prior bankruptcy              g No
          cases filed by or against
          the debtor within the last 8          Yes.
          years?

          If more than 2 cases, attach a
          separate list.                                District                                When                               Case number
                                                        District                                When                               Case number


10.       Are any bankruptcy cases           B t\lo
          pending or being filed by a
          business partner or an                Yes.
          affiliate of the debtor?

          List all cases. If more than 1 ,
          attach a separate list                        Debtor
                                                                                                                                  Relationship
                                                        District                                When                             Case number, if known




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                                                                                                                  page 2
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  Debtor       Arsham Metal Industries, Inc.                                                             Case number (if known)
              Name



  11.    Why is the case filed in    Check all that apply:
         this district?              _
                                            Debtor has had its domicile, principal place of business, or principal
                                                                                                                   assets in this district for 180 days immediately
                                            preceding the date of this petition or for a longer part of such
                                                                                                             1 80 days than in any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership
                                                                                                                             is pending in this district.

 12.     Does the debtor own or      g No
         have possession of any
         real property or personal       Yes      Answer below for each property that needs immediate attention. Attach additional sheets if needed,
         property that needs
         immediate attention?                    Why does the property need immediate attention? ( Check
                                                                                                         all that apply.)

                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to
                                                                                                                                    public health or safety.
                                                    What is the hazard?
                                                                                                                                                                 _____
                                                     It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                                                                                        without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-r
                                                                                                                     elated assets or other options).

                                                    Other
                                                 Where is the property?

                                                                                  Number, Street, City, State & ZIP Code
                                                 Is the property insured?

                                                    No

                                                    Yes.    Insurance agency
                                                            Contact name

                                                            Phone




             Statistical and administrative information

13.     Debtor's estimation of              Check one:
        available funds
                                            H Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured
                                                                                                                                     creditors.

14.     Estimated number of           1-49                                               1,000-5,000
        creditors                                                                                                                   25,001-50,000
                                      50-99                                              5001-10,000                                50,001-100,000
                                      100-199                                            10,001-25,000                              More thanl 00,000
                                      200-999


15.     Estimated Assets              $0 - $50,000
                                                                                        $1,000,001 -$10 million                     $500,000,001 - $1 billion
                                      $50,001 -$100,000
                                                                                        $10,000,001 -$50 million                    $1,000,000,001 -$10 billion
                                      $100,001 -$500,000
                                                                                        $50,000,001 -$100 million                   $10,000,000,001 -$50 billion
                                      $500,001 - $1 million
                                                                                        $100,000,001 - $500 million                 More than $50 billion

16.     Estimated liabilities
                                      $0 - $50,000
                                                                                        $1,000,001 -$10 million                     $500,000,001 - $1 billion
                                      $50,001 -$100,000
                                                                                        $10,000,001 -$50 million                   $1,000,000,001 -$10 billion
                                      $100,001 -$500,000
                                                                                        $50,000,001 -$100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million
                                                                                        $100,000,001 - $500 million                More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                                                                                                                page 3
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 Debtor    Arsham Metal Industries, Inc.                                                               Case number (if known)
            Name




            Request for Relief, Declaration, and Signatures


 WARNING ~ Bankruptcy fraud is a serious crime. Making a false statement
                                                                         in connection with a bankruptcy case can result in fines up to $500,000 or
               imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 17. Declaration and signature
     of authorized                  The debtor requests relief in accordance with the chapter of title 1 1 , United States
                                                                                                                           Code, specified in this petition.
     representative of debtor
                                     I have been authorized to file this petition on behalf of the debtor.


                                     I have examined the information in this petition and have a reasonable belief that
                                                                                                                        the information is trued and correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.


                                       :ecuted on     03 OZ-lToiq
                                                      MM/QD / YYi Y



                                X                                                                            Jeffery Arsham
                                    Signature Of authorWrfrepi^entafTTeaf'debtor                             Printed name

                                    Title   Chief Operating Officer




18. Signature of attorney       X                                                                             Date
                                    Signature of attorney for debtor
                                                                                                                     MM/DD/YYYY

                                    Melissa A. Haselden
                                    Printed name


                                    Hoover Slovacek LLP
                                    Firm name


                                    5051 Westheimer
                                    Suite 1200
                                    Houston, TX 77056
                                    Number, Street, City, State & ZIP Code



                                    Contact phone     713.977.8686                  Email address      haselden@hooverslovacek.com


                                    00794778 TX
                                    Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                                                                                                               page 4
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          UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS
                                   OF ARSHAM METAL INDUSTRIES, INC.


                                           February       2019


         The undersigned, being all of the members of the Board of Directors (the "Board") of
Arsham Metal Industries, Inc., a Texas Corporation (the "Corporation"), and pursuant to the
provisions of Texas statutes, hereby consents to the adoption of the following resolutions and to
the action authorized in such resolutions being taken by the Board in lieu of a meeting thereof:


         RESOLVED, that the Corporation should reorganize by filing for bankruptcy
         protection under Chapter 1 1 of the Bankruptcy Code with an appropriate federal
         bankruptcy court sitting in Harris County, Texas;


         RESOLVED, that Jeffery R. Arsham, the Chief Operating Officer of Arsham
         Metal Industries, Inc., is hereby authorized and directed to prepare or cause to be
         prepared the voluntary petition and to cause the initiation and prosecution of a
         case under the Bankruptcy Code (the "Bankruptcy Case"), and to prepare or cause
         to be prepared all other documents, pleadings and other others instruments
         necessary to prosecute the Bankruptcy Case;


         RESOLVED, that the Corporation is authorized and directed to employ and
         retain the firm of Hoover Slovacek LLP, Attorneys at Law, to represent the
         Corporation in its case under the Bankruptcy Code upon such retainer and
         compensation agreement as may          seem   in the sole discretion of the   Chief
         Executive Officer to be appropriate; and


         RESOLVED FURTHER, that any and all actions taken by the Chief Operating
         Officer for the Corporation, for and on behalf and in the name of this Corporation,
         prior to the adoption of the foregoing resolutions, in connection with any of the
         foregoing matters, be and they are hereby, ratified, confirmed and approved in all
         respects for all purposes.




(851329/00001/01297380. DOCX 1 }
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of
Directors of the Corporation, has executed this consent as of the date first written above.




                                          DIRECTORS




                                          By:
                                                '   Sheldon D. Arsham




                                          CLASS A MEMBER:




                                          By:
                                                    Sheldon D. Arsham




 { 85 1 329/0000 1 /0 1 297380.DOCX 1 }
                                Case 19-31268 Document 1 Filed in TXSB on 03/04/19 Page 7 of 36


   Fill in this information to identify the case:
   Debtor name [ Arsham Metal Industries, Inc.
   United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF TEXAS                                                                     Check if this is an

   Case number (if known):
                                                                                                                                                            amended filing




  Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
                                                                          Unsecured Claims and
 Are Not Insiders
                                                                                                                                                                                         12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in
                                                                              a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider,
                                                                                     as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting
                                                                              from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and             Name, telephone number            Nature of claim          Indicate if claim   Amount of claim
  complete mailing address,        and email address of              (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code               creditor contact                  debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                     professional services,      disputed         value of collateral or setoff to calculate unsecured claim.
                                                                     and government
                                                                                                                  Total claim, if           Deduction for value       Unsecured claim
                                                                     contracts)
                                                                                                                  partially secured         of collateral or setoff
  A & S Metal                      Ross, Banks, May,
                                                                                                                                                                               $42,048.96
  Recycling, Inc.                  Cron & Cavin, P.C.
  2261 E. 15th Street
  Los Angeles, CA                  eengelhart@rossba
  90021 ~                          nks.com
                                   (713) 626-1200
  CLM Equipment                    Griffin & Matthews
                                                                                                                                                                               $58,403.81
  PO BOX 1830
  Covington, LA                    billrichey@griffina
  70434                            ndmatthews.com
                                   (409) 832-6006
  Curlee
                                                                                                                                                                             $168,014.17
  Manufacturing
  13639 Aldine
 Westfield Rd
 Houston, TX 77039
 Dennis Williams v
                                                                                                                                                                              $46,394.43
 1748 Oak Tree
 Houston, TX
 77080-7240
 Derichebourg                     Barnett & Garcia
                                                                                                                                                                              $66,723.91
 Recycling USA
 P.O. 671383                      paralegal2@barnett
 Dallas, TX                       garcia.com
 75267-1383                       512-266-8830
 Intrametco                       Totz Ellison & Totz,
                                                                                                                                                                              $67,898.40
 14297 Bergen Blvd.,              P.C.
 Suite 200
 Noblesville, IN                  jtotz@tetlegal.com
 46060                            713-275-0303
 Jack Engle & Co.
                                                                                                                                                                            $100,500.10
 8440 South Alameda
 St
 Los Angeles, CA
 90001




Official form 204                                 Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
                                                                                                                                      claims                                   page 1

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                                                                                                                                                                  Best Case Bankruptcy
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   Debtor     Arsham Metal Industries, Inc.                                                                          Case number (if known)
               Name


   Name of creditor and              Name, telephone number            Nature of claim          Indicate if claim   Amount of claim
   complete mailing address,         and email address of              (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount If
   including zip code                creditor contact                  debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                       professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                    Total claim, if           Deduction for value       Unsecured claim
                                                                                                                    partially secured         of collateral or setoff
   Louisiana Scrap
   Metal Recycling
                                                                                                                                                                                 $42,246.40
   2200 Cameron
   Street
   Lafayette, LA 70506
   M. Lipsitz & Co.,                Totz Ellison & Totz,
                                                                                                                                                                               $154,944.03
   LTD.                             P.C.
  P.O. Box 1175
  Waco, TX 76703                    jtotz@tetlegal.com
                                    (713) 275-0303
   Market Street
                                                                                                                                                                                $70,367.30
  Recycling LTD
  P.O. Box 1175
  Waco
  TX, 76703
  Metal Exchange                    Totz Ellison &Totz,
                                                                                                                                                                                $89,510.89
  Corp. B                           P.C.
  P.O.Box 7446M
  St. Louis, MO 63195               jtotz@tetlegal.com
                                    (713) 275-0303
  Monterrey Iron &
  Metal
                                                                                                                                                                                $74,034.70
  P.O.Box 241509
  San Antonio, TX
  78224
  MTZ Trucking                      Glassman Law
                                                                                                                                                                              $124,134.21
  P.O.Box 750213                    Firm, PLLC
  Houston, TX
  77275-0213                        Hilary@GlassmanL
                                   awFirm.com
                                   832-706-2342
 OMI Refractories,                 Cokinos
                                                                                                                                                                                $53,810.00
  LLC
  d/b/a Bisco                      cpower@cokinosla
 Refractories                      w.com
 500 Superior St                   713-535-5528
 Bldg 4
 Carnegie, PA 15106
 Ply Gem Industries -              Totz Ellison & Totz,
                                                                                                                                                                               $50,886.50
 Alenco Extrusions                 P.C.
 P.O. Box 203368
 Dallas, TX                        jtotz@tetlegal.com
 75320-3368                        713-275-0303
 South Coast
                                                                                                                                                                               $44,863.78
 Hydralics
 P.O Box 41867
 Houston, TX 77241
 Venture Metals, Inc.
                                                                                                                                                                               $42,993.20
 11221 Tantor Rd.
 Dallas, TX 75229




Official form 204                                  Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
                                                                                                                                       claims                                   page 2

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                                                                                                                                                                   Best Case Bankruptcy
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  Debtor     Arsham Metal Industries, Inc.                                                                         Case number (if known)
             Name


  Name of creditor and             Name, telephone number            Nature of claim          Indicate if claim   Amount of claim
  complete mailing address,        and email address of              (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code               creditor contact                  debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                     professional services,      disputed         value of collateral or setoff to calculate unsecured claim.
                                                                                                                  Total claim, if           Deduction for value       Unsecured claim
                                                                                                                  partially secured         of collateral or setoff
  Vesuvius USA
                                                                                                                                                                                $54,796.16
  Corp.
  5645 Collections
  Center Drive
  Chicago, IL 60693
  W. Silver Recycling,             James W. Brewer
                                                                                                                                                                                $67,740.40
  Inc.
  1720 Magoffin Ave.               Jim.Brewer@kemp
  El Paso, TX 79901                smith.com
                                   915.533.4424
  YP Advertising &                 Connie King
                                                                                                                                                                                $61,591.53
  Publishing
                                   cking@rrylaw.com
                                   615-687-1584




Official form 204                                 Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims
                                                                                                                                                                                page 3

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                                                                                                                                                                  Best Case Bankruptcy
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                                                                 United States Bankruptcy Court
                                                                     Southern District of Texas
   In re      Arsham Metal Industries, Inc.
                                                                                                         Case No.
                                                                                     Debtor(s)           Chapter    11




                                                 VERIFICATION OF CREDITOR MATRIX




 I, the Chief Operating Officer of the corporation named as the debtor in this case, hereby verify
                                                                                                   that the attached list of creditors is

 true and correct to the best of my knowledge.




  Date:                3 -2~/<?
                                                                      Jeffery Ansham/Chief Operating Officer
                                                                      Signer/Title




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                                                                                                                            Best Case Bankruptcy
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Texas Workforce Commission
Bankruptcy Section
P 0 Box 149080
Austin,    TX     78714-9080




Texas    Comptroller of         Public Accounts
Revenue Accounting Division
Bankruptcy Section
P 0 Box 12548
Austin, TX 78711-2548



Internal Revenue Service
Insolvency Section
1919 Smith MAIL STOP HOU 5022
Houston, TX 77002




100 Fold Inc.
1111 Davis Dr. # 220
New Market, Ontario         L3Y    9E5




A & S Metal Recycling,           Inc.
2261 E. 15th Street
Los    Angeles,    CA   90021




A&J Transmissions
103 Mebane Street
San Antonio, TX 78223




ABC Home and Commercial           Serv.
11934 Barker Cypress
Cypress, TX 77433




Able   Supply
PO Box 912
Houston, TX       77001
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Account Recievable Technologies
377 Hoes Ln., Suite 200
Piscataway,       NJ   08854




Air Products and Chemicals
PO Box 71220, Mail Code 5701
Charlotte, NC 28272




Allegiance Bank Texas
8807 W. Sam Houston Pky
Suite 100
Houston,    TX    77040




Aluminum Resources
PO Box 1287
Smyrna,    TN    37167




American Chemical Technologies,     Inc.
485 E. Van Riper Rd.
Fowlerville, MI 48836




American  International Group,    Assignee
10111 Richmond Ave
Suite 200
Houston, TX 77042




American Metal         Chemical
PO Box 75588
Cleveland,      OH   44101




American Metal Solutions
3618 Sunset Blvd.
West Columbia, SC 29169
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Andrew Arsham
16510 Cornwall St
Houston,     TX   77040




Ann Harris Bennett-Tax Assessor
PO Box 4622
Houston,    TX    77210




Applied Industrial Technologies
22510 Network Place
Chicago, IL 60673




ASCO
92 6 N. Houston Parkway E.
Houston, TX 77032




Avangard  Innovative
11906 Brittmoore Park
Houston, TX 77041




Balboa Capital
575 Anton Blvd,        12th floor
Costa    Mesa,    CA   92626




Balboa Capital Corp.
575 Anton Blvd, 12th floor
Costa Mesa, CA 92626




Bara Logistics
2440 Camino Ramon, #343
San Ramon, CA 94583
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Barnett    &    Garcia
Attn:    Lawrence J.
                  Falli
3821 Juniper Trace, Suite 108
Austin, TX 78738




BB&T
2 Great Valley Parkway,        Suite 300
Malvern, PA 19355




BB&T Commercial
P.O.Box 896534
Charlotte,       NC   28289-6534




BlueLine Rental
PO Box 840062
Dallas, TX 75284-0062




Briffin & Matthews
Attn: Bill Richey
400 Neches at Crockett
Beaumont, TX 77701




C&Y Global Incorporated
121 N.Passadena Blvd.
Pasadena, TX 77506




Cameron Recycling
P O Box 327
Manvel,    TX   77578




Cams Blue Wire Technology
919 Milam Steet # 2300
Houston, TX 77002
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Carruth-Doggett , Inc.
7110 North Freeway
Houston, TX 77076




CenterPoint Energy
P.O.Box 301149
Dallas,    TX    75303-1149




Central    Hydraulic
P.O.Box 841168
Houston,    TX    77824




Certified Flux         Solutions
P.O.Box 372
Morgantown,       KY   42261




Chapitos    Packaging
P.O.Box 1404
Loving,    NM    88256




Chemetco Site PRP Group
c/o The Justis Law Firm LLC
Attn: Gary D. Justis
10955 Lowell Ave.,        Suite 520
Overland Park, KS         66210-2336



Chernosky,   Smith, Ressling       &   Smith,   PLLC
Attn:   Michael J. Smith
4646 Wild Indigo, Suite 110
Houston, TX 77027




Cintas
Cintas Loc . #82
P.O.Box 650838
Dallas,    TX   75265-0838
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CIT
21146 Network Place
Chicago, IL 60673-1211




CIT Bank,    N.A.
One Deerwood
10201 Centurion Pkwy N.
Suite 100
Jacksonville, FL 32256



CLM Equipment
PO BOX 1830
Covington,       LA   70434




Cokinos
Attn:   Craig E.      Power
Four Houston Center
1221 Lamar,      16th Floor
Houston,    TX    77010



Commercial Metals Company
P.O. Box 844681
Dallas, TX 75284-4681




Commercial  Services Group, Inc
4965 U.S. Highway 42, Suite 1500
Louisville, KY 40222




Communiity Bank of Texas
5999 Delaware
Beaumont, TX 77706




Community Bank of Texas
5999 Delaware
Beaumont, TX 77706
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Community Bank of Texas
5999 Delaware
Beaumont, TX 77709




Community Bank of Texas, NA
Attn: Chuck Bolton
9 Greenway Plaza, Suite 110
Houston, TX 77046




Compucycle
7700 Kempwood Dr.
Houston,     TX    77055




Compucycle,       Inc.




Control Concepts,          Inc
Dept 314
P.O.    Box 4346
Houston,    TX    77210-4346




Core    Graphics
P.O.BOX 41165
Houston,    TX    77241-1165




CrossWood Technology Group
526 Kingwood, Dr. Ste.364
Kingwood,    TX    77339




Curlee Manufacturing
13639 Aldine Westfield Rd
Houston,  TX 77039
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Cypress-Fairbanks           ISD Tax Assessor
10494 Jones Rd.          #106
Houston,      TX    77065




Dannan,      Ltd.
 d/b/a Black Rose Steel & Trading
PO Box 87 6
Attn:   S. Ann Hacker
League      City,   TX    77574



Dart Metals Trading Co.
19 Colonial Drive, # 26
Youngstown, OH 44505




De   Lage   Landen
P.O.Box 41602
Philadelphia,        PA     19101-1602




De Lage Landen Financial           Services
1111 Old Eagle School Rd.
Wayne, PA 19087




Dennis Williams
1748 Oak Tree
Houston, TX 77080-7240




Dennis Williams v
1748 Oak Tree
Houston, TX 77080-7240




Derichebourg Recycling USA
P.O. 671383
Dallas,     TX   75267-1383
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Diesal    Specialists
1215 Carpenter Rd.
Humble,    TX    77369




Dore    Law Group
17171 Park Row #160
Houston, TX 77084




ERS/ OCI
P.O.Box 711097
Cincinatti, OH       45271-1097




Euler Hermes       Collections
800 Red Brook Blvd., Suite 400C
Attn: Alan Cozzi
Owings Mills, MD 21117




Euler Hermes       Collections
800 Red Brook Blvd.,       Suite 400C
Attn:   Darrel Austin
Owings    Mills,    MD   21117




Family &   Friends Cleaning       Service
102 9 Hwy 6 N
Ste 650-196
Houston,    TX   77079




Farouk
250 Pennbright
Houston,    TX   77090




Fedex
P.O.Box 660481
Dallas, TX 75266-0481
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Flores pallets      LLC.
6101 Dixie Dr.
Houston,    TX    77087




Ford Credit Truck Finance
P.O Box 650575
Dallas, TX 75265-0575




Four    Seasons Equipment         Co.
P.O.Box 691528
Houston,    TX    77269-1528




Four Seasons Equipment,            Inc.
8111 Mills Rd. '
Houston,    TX    77064-1111




Freight    Cowboy
P.O.Box 4601
Houston,    TX    77210-4601




Genesis    Commercial      Capital,       LLC
17551 Gillette Ave.
Irvine,    CA    92614




Glassman Law Firm,         PLLC
Attn:   Hilary Glassman
1415 S. Voss ,     Suite 110-145
Houston,    TX    77057




GM Financial      Leasing
75 Remittance Drive
suite 1738
Chicago,    IL    60675-1738
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Goodwill    Industries      of Houston
Attn: Accts Receivable/Metal Salvage
1140 W.    Loop North
Houston,    TX   77055




Goya Foods
30 602 Goya Rd.
Brookshire, TX      77423




Grainger
Dep 838458198
P.O.Box 419267
Kansas City, MO      64141-6267




Gulf Coast Combustion LP
P.O. Box 14
Spring, TX 77383-0014




Hahn & Clay
P.O.Box 15521
Houston, TX 77220




Harris County Alarm Detail
9418 Jensen Dr. Suite A
Houston,  TX 77093-6821




Harris    County et al
Tax Assessor-Collector
P 0 Box 4622
Houston,    TX   77210-4622




Harris County,     et al.
c/o Tara Grundemeier
Linebarger Attorneys At Law
4828 Loop Central Drive
Houston,    TX   77081
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Harrison Hydra-Gen,         LTD
14233 West Road
Houston,     TX    77041




Harvey Arsham
1203 Creekford Circlev
Sugar     Land,    TX   77478




Hippo Hopper
6957 W.    Little York
Houston,     TX    77040




Home     Depot
Dept 32-2010868309
PO BOX 9001030
Louisville, KY          40290-1030




Houston     Scale
P.O.Box 494
Spring,     TX    77383




Huf co
P.O.Box 40489
Houston,     TX    77240




Hydraulics of Texas
6800 Northwinds Drive
Houston, TX 77041




Hydro-Commerce
1500 Whetstone Way
Baltimore, MD 21230
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Igloo Products Inc.
777 Igloo Rd.
Katy,    TX    77494




Innovative Energy Soutions
P.O.Box 15270
Irvine,       CA   92623-5270




Intrametco
14297 Bergen Blvd.,          Suite 200
Noblesville,         IN   46060




IPFS     CORPORATION
1055 Broadway
11th Floor
Kansas City,        MO    64105




ISRI    Gulf Coast Chapter
c/o Tri-State Iron & Metal Co.
1725 East 9th St .
Texarkana, AR 71854




Jack Engle & Co.
8440 South Alameda St
Los    Angeles,     CA    90001




James B. Morris, III
15511 Bluebonnet Dale,            Dr
Cypress,      TX   77433




Jeffery R. Arsham
6620 Gessner Drive,          3104
Houston, TX 77040
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Jones    Hydraulic        Service
5955 Armour Drive
Houston, TX 77020




Kaeser    Compressor
P.O. Box 946
Fredericksburg,           VA   22404




Kemp    Smith
Attn:    James W.    Brewer
221 North Kansas,          Suite 1700
El    Paso,   TX   79901-1441




Kodiak Metals Recycling
1010 Avenue S
Dickinson, TX 77539




Kolkhorst & Kolkhorst
9977 W. Sam Houston Pkwy N
Suite 150
Houston,      TX   77064




Lazer   Energy
P.O.Box 75044
Houston,      TX   77234




Leaf Capital Funding
2005 Market Stree, 14th Floor
Philadelphia,        PA    19103




Lewis Brisbois Bisgaard &              Smith LLP
633 W. Fifth St.
Suite 4000
Los   Angeles,     CA     90071
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Logix
P.O.Box 3608
Houston, TX 77253-3608




Lopez Metals        Houston
2160 Harbor Street
Houston,       TX   77020




Louisiana Scrap Metal Recycling
2200 Cameron Street
Lafayette, LA 70506




M.    Lipsitz   &   Co. ,   LTD.
P.O.    Box 1175
Waco,    TX    76703




MA Aluminum Resources,             LLC
9401 Indian Creek Parkway
Suite 450
Overland Park,         KS    66210




Magneco/Matrel
Magneco/Matrel
75 Remittance Drive
Chicago,  IL 60675-1552




Magnet    Co.   Inc.
P.O. Box 460
Harrison, AR         72602




Market Street Recycling LTD
P.O.    Box 1175
Waco
TX,    76703
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Matheson-Tri      Gas     Inc
Dept 3028 P.O.Box 123028
Dallas , TX 75312




McCarthy,      Burgess     & Wolfe
Attn:   Oscar Roldan
The MB&W Building
26000 Cannon Rd.
Cleveland,      OH   44146



Mercedes Benz        Financial      Services
P.O.Box 5209
Carol   Stream,      IL   60197-5209




Metal Exchange Corp.            B
P.O.Box 7446M
St.   Louis,    MO   63195




Metal Green Recycling
993 Bellville Turnpike
Kearny, NJ 07032




Metal   to Money
155 River Birch Dr.
Oxford, GA 30054




Meyer   &   Meyer,   LLP
Attn:   John David Meyer
100 East Veterans Blvd
Owensboro,      KY   42303




Michal F. Hord Jr.
Hirsch & Westheimer, P.C.
The Wedge Tower
1415 Louisiana, 36th Floor
Houston, TX 77002
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MidSouth Bank
P.O.    Box 8
Many,    LA     71449




MidSouth Bank
P.O.    Box 3745
Lafayette,         LA    70502




Midsouth VI LLC
3144 S. Winton Rd.
Rochester, NY 14623




Monterrey       Iron     & Metal
P.O.Box 241509
San    Antonio,         TX   78224




MP    Instruments
125 W.   Crosstimbers
Houston,      TX    77018




MTZ Trucking
P.O.Box 750213
Houston,      TX    77275-0213




Mustang    Cat
P.O.Box 4346 dept 144
Houston,      TX   77210-4346




National Resolution Services
274 E. Eau Gallie Blvd.
Suite 349
Satellite Beach, FL 32937
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Nelson    Fastener         Systems
P.O.Box 504781
St.    Louis,    MO    63150-4781




Northwest       Drive Train Svc.
11432 FM529
Houston,    TX       77041




OMI    Refractories,         LLC
d/b/a Bisco Refractories
500 Superior St
Bldg 4
Carnegie,       PA    15106



Pawnee Corporation
3801 Automation Way
Fort    Collins,       CO    80525




Peony
110 Summit Ave. # 2 00
Montvale,  NJ 07645




Person Whitworth Brochers              &   Morales,   LLP
Attn:    Albert M.         Gutierrez
7744 Broadway St.,            Suite 100
San    Antonio,      TX     78209




Petco    Inc.
P.O.Box 19
Helotes,    TX       78023




Pheonix    Industrial         Tire
P.O.Box 983
Friendswood,          TX    77549
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Pirtek
6125 W Sam Houston Pkwy.
Ste .101
Houston,    TX    77041




Ply Gem Industries        - Alenco   Extrusions
P.O. Box 203368
Dallas, TX 75320-3368




Polymeric USA
10155 Windfern
Houston, TX 77064




Praxair
P.O.Box 120812 Dept 0812
Dallas,    TX    75312-0812




Reliant Energy
P.O. Box 650475
Dallas,    TX    75265-0475




Republic Services
10554 Tanner Rd.
Houston,    TX   77041




Richard T. Avis & Associates,             LLC
Attn: Josh Chaet
P.O. Box 31579
Chicago, IL 60631




Robinson,   Reagan    &   Young,   PLLC
Attn:   Connie King
446 James Robertson,       Pkwy
Suite 200
Nashville, TN 37219
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Rosenberg Paschall Johnson,           LLP
2001 Bryan St .
Suite 2125
Dallas, TX 75201




Ross,    Banks,   May,    Cron   & Cavin,   P.C.
Attn:    Eva S.   Englehart
7700 San Felipe,      Suite 550
Houston,    TX    77063-1618




S.D.    Arsham
1335 Modiste St
Houston, TX 77055




Sam's Safety Equipment
P.O.Box 430326
Houston, TX 77243-0326




SEARS 1067




Seven Star Packaging
7 STAR PACKAGING
5910 Brittmoore Rd.
Houston,  TX 77041




Sheldon D. Arsham
1335 Modiste St .
Houston,    TX    77055




Sign Ad
4965 US Hwy 42, Suite 1500
Louisville, KY 40222
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Sorb-All Company
P.O.Box 21148
Houston,    TX    77226




Source Enviromental Services           Inc.
2060 North Loop West,STE 140
Houston,    TX    77018




South    Coast   Hydralics
P.O Box 41867
Houston,    TX    77241




sparkletts & sierra         springs
p. o.box 660579
Dallas,    TX    75266




Sprint
P.O.Box 4181
Carol    Stream,    IL    60197-4181




State    Farm
2112 Pease Street
Houston, TX 77003




State Metal Industries
941 South Second Street
Camden,    NJ    08103




Steel Supply, LP
10600 Telephone Rd.
Houston, TX 77075
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STREAM
P.O.Box 802066
Dallas, TX 75380




Sunbelt Rentals
P.O.Box 409211
Atlanta,    GA    30384-9211




SunBelt Rentals,         Inc.
Attn:   Cameron Summers
1275 West Mound St.
Columbus,  OH 43223




Taylor,    Taylor    &   Russell
Attn: Allen D.      Russell
2777 Allen Parkway,        Suite 1000
Houston,    TX    77019




Texas Commission on Environmental Qualit
P 0 Box 13089
Austin, TX 78711-3089




Texas    Comptroller of         Public Accounts
P.O.Box 149348
Austin,    TX    78714-9348




Texas    Iron    & Metal
865 Lockwood Dr.
Houston,    TX    77020




Texas    Scrap Metal,      Inc.
9210 Emmott Rd
Houston,    TX    77040
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The APB
5635 NW Central Dr. E-108
Houston, TX 77092




The    Law Offices of Darryl T. Watson,             PC
401 E.   Sonterra Blvd., Suite 375
San    Antonio, TX 78258




The Nut Place
6605 North Gessner Drive
Houston,  TX 77040-4015




The Office of Andre Larabie,           MBA,   PhD
9450 SW Gemini Dr.
Suite 31735
Attn: Bill Payne
Beaverton,       OR    97008



The    Parker Law Firm
Attn:   Steven T. Parker
715 Clear Lake Rd.,        Suite 101
Kemah, TX 77565




TISS
Department 407
P.O.BOX 4652
Houston,    TX    77210-4652




Totz    Ellison   & Totz,      P.C.
Attn:    Jon Totz
2211 Norfolk,         Suite 510
Houston,    TX    77098




Totz Ellison & Totz,           P.C.
Attn:    John Totz
2211 Norfolk,         Suite 510
Houston,    TX    77098
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Totz Ellison & Totz,         P.C.
Attn:    Marc L.   Ellison
2211 Norfolk,       Suite 510
Houston,    TX     77098




Toyota Financial Service/Forklif ts
P.O. Box 660926
Dallas, TX 75266-0926




Toyota    Industries       Commercial   Finance
P.O.    Box 9050
Coppell,     TX    75019-8050




Toyota Lift of Houston
P.O. Box 733593
Dallas, TX 75373-3953




Tyco Integrated security
P.O. Box 371967
Pittsburgh, PA 15250-7967




U.S. BANK NA
P.O.BOX 790117
St. Louis, MO 63179-0117




Uber Freight
Uber 10th Floor
685 Market Street
San Francisco, OA          94105




United Rentals [North America]
P.O. Box 840514
Dallas, TX 75284-0514
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United    Structures         of America
1912 Buschong St.
Houston,    TX       77039-1298




Velez Trucking Inc.
5303 Oats Road
Houston, TX 77013




Venture Metals,          Inc.
11221 Tantor Rd.
Dallas,    TX    75229




Vericore
Attn: William Fox
10115 Kincey Ave
Huntersville, NC 28078




Vesuvius USA   Corp.
5645 Collections Center Drive
Chicago,  IL 60693




Vi-Tech
6514 Overcrest Lane
Pasadena,       TX   77505




VIM Recyclers
920 Rathboone Ave.
Aurora,    IL    60506




W. Silver Recycling,            Inc.
1720 Magoffin Ave.
El Paso, TX 79901
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Robinson,Reagan & Young, PLLC
c/o Mark B. Reagan, B.P.R.
446 James Robertson Rkwy, Suite 200
Nashville, Tennessee 37219

  Internal Revenue Service
  P O Box 7346
  Philadelphia, PA 19101-7346
